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                          UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII

  HB Productions, Inc.,                )    Case No.: 1:19-cv-487-JMS-KJM
                                       )   (Copyright)
                    Plaintiff,         )
     vs.                               )   MEMORANDUM IN SUPPORT OF
                                       )   PLAINTIFF’S MOTION FOR
  Muhammad Faizan,                     )   DEFAULT JUDGMENT AGAINST
                                       )   DEFENDANT MUHAMMAD
                    Defendant.         )   FAIZAN
                                       )
                                       )


  PLAINTIFF’S MEMORANDUM IN SUPPORT OF MOTION FOR DEFAULT
       JUDGMENT AGAINST DEFENDANT MUHAMMAD FAIZAN




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 I.    INTRODUCTION

       Plaintiff HB Productions, Inc. (“Plaintiff”) is the owner of the copyright for

 the motion picture Hellboy (“Work”). See Exhibit “2” [Doc. #40-2] to the First

 Amended Complaint (“FAC”) [Doc. #40]. Plaintiff is currently selling the Work in

 the United States (“US”) including in Hawaii. See FAC at ¶51. Plaintiff filed this

 action against Defendant Muhammad Faizan (“Defendant”) on Feb. 14, 2020

 alleging that Defendant is liable for direct infringement, contributory copyright

 infringement and intentional inducement in violation of the US Copyright Act, 17

 U.S.C. 101 §§ et. for making file copies and torrent files for the Work, distributing

 them from websites that operated under the name “MKVCAGE” and seeding copies

 of the Work via the BitTorrent Protocol. See FAC at ¶¶9, 38. Particularly, Plaintiff

 made the verified allegation that Defendant’s distribution of illicit copies of the

 motion picture under two particular file names has resulted in over 105,043

 infringements worldwide as of Dec. 12, 2019. See Id. at ¶¶83-84, Decl. of Arheidt

 [Doc. #40-7] at ¶¶8-9. Defendant further copied Plaintiff’s Work and distributed it

 via six other files. See Decl. of Kessner [Doc. #40-5] at ¶10, FAC at ¶90.

       Defendant went about his distribution by first copying Plaintiff’s motion

 picture from Blu-ray discs and legitimate streaming sources to create illegitimate

 high quality copies of the Work by a process referred to as “ripping”. Id. at ¶¶38-

 40. He then created torrent files for his illegitimate copies and placed them on his


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  MKVCAGE websites and other websites such as ibit.uno to be available for

  download freely anywhere. Id. at ¶¶39, 90-91. He seeded file copies of the motion

  picture on notorious piracy platforms such as 1337x and ETTV so that anyone could

  make a copy via the BitTorrent protocol. Id at ¶¶86, 89-90.

         When Plaintiff became aware that Defendant was distributing Plaintiff’s

  Work from the MKVCAGE websites, Plaintiff’s counsel served a notice pursuant to

  17 U.S.C. § 512(c)(3)(A) of the Digital Millennium Copyright Act (“DMCA”) upon

  Defendant’s domain registrar and host provider Namecheap, Inc. (“Namecheap”)

  and nameserver provider CloudFlare, Inc. (“CloudFlare”). See FAC at ¶42, Exhibits

  “1” and “2”. CloudFlare and Namecheap notified Defendant of Plaintiff’s notice.

  See Decl. of Counsel at ¶¶3-5. Namecheap and CloudFlare subsequently provided

  identification information to Plaintiff’s counsel. See FAC at ¶42, Decl. of Counsel

  at ¶2. Defendant did not provide his real name or email address to CloudFlare;

  however, he did provide the correct name and email address (but incomplete

  physical address) to Namecheap. See Id. at ¶¶6-8, Exhibit 4 [Doc. #40-4] to the

  FAC.

         On September 5, 2019, Plaintiff’s counsel sent a notice to Defendant via email

  requesting him to stop promoting and distributing torrent files for the Work and pay

  a small portion of Plaintiff’s damages. See, Exhibit “4”, Dec. of Counsel at ¶9.

  Defendant agreed to shut down his websites but refused to pay any damages. Id. at


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  ¶10-16. Accordingly, Plaintiff filed the Complaint on September 9, 2019. See [Doc.

  #1]. Defendant was served a copy of the Complaint, Summons and Scheduling

  Order on Oct. 4, 2019. See Supplemental Decl. of Muhammad Wagar at ¶3 [Doc.

  #17]. Shortly thereafter, Defendant renewed his piracy activities by creating the

  website mkvcage.nl jointly with 1337 Services, LLC (an entity organized under laws

  of the island of Nevis in West Indies). FAC at ¶44. Defendant also continued to

  seed torrent files on 1337x. Decl. of Counsel at ¶¶6-7. Defendant only shutdown

  this website after Plaintiff’s counsel sent a notice to 1337’s registered agent on

  December 11, 2019. See Decl. of Counsel at ¶20.

         Prior to the present motion, Plaintiff’s counsel sent an email communication

  on July 18, 2020 to Defendant including a copy of the entry of default as an

  attachment and stating Plaintiff’s intention to file the present motion for default

  judgment. Decl. of Counsel at ¶5.

  II.    SUBJECT MATTER JURISDICTION AND VENUE

         This Court has subject matter jurisdiction over this action pursuant to 17

  U.S.C. §§ 101, et. seq., 28 U.S.C. § 1331, and 28 U.S.C. § 1338(a). Venue is proper

  in this District pursuant to 28 U.S.C. § 1391(b) and (c) and 28 U.S.C. § 1400(a).

  III.   PERSONAL JURISDICTION

  A. The Court has Jurisdiction Pursuant to Fed. R. Civ. P. 4(k)(2), the so-called

  Federal Long-Arm Statute


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        1. Plaintiff’s Claims Against Defendant Arise under Federal Law

        Rule 4(k)(2) permits a federal court to exercise personal jurisdiction over a

  defendant if “the defendant is not subject to jurisdiction in any state’s courts of

  general jurisdiction,” and “exercising jurisdiction is consistent with the United States

  Constitution and laws.” Rule 4(k)(2) imposes three requirements:


       First, the claim against the defendant must arise under federal law.
       Second, the defendant must not be subject to the personal jurisdiction of
       any state court of general jurisdiction. Third, the federal court's exercise
       of personal jurisdiction must comport with due process.

  Pebble Beach Co. v. Caddy, 453 F.3d 1151, 1159 (9th Cir. 2006) (citations omitted).

  Defendant is a resident of Pakistan, and thus not subject to the personal jurisdiction

  of any state court of general jurisdiction. See FAC at ¶37. Plaintiff’s claims for

  Inducement, Direct Infringement and Contributory Copyright Infringement against

  Defendant arise under Federal Law.

        2.   Defendant has Sufficient Minimum Contacts with the US that the

  Maintenance of the Suit Does Not Offend Due Process

        Due Process requires that a defendant have “minimum contacts with [the

  forum state] such that the maintenance of the suit does not offend traditional

  notions of fair play and substantial justice.” Int'l Shoe Co. v. State of Wash., Office

  of Unemployment Comp. & Placement, 326 U.S. 310, 316 (1945) (citations

  omitted) (internal quotations omitted). A court has specific jurisdiction over a

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  nonresident defendant when it “purposefully avails itself of the privilege of

  conducting activities within the forum State,” Burger King Corp. v. Rudzewicz,

  471 U.S. 462, 475 (1985), and the suit “aris[es] out of or relate[s] to the

  defendant’s contacts with the forum.” Daimler AG v. Bauman, 571 U.S. 117, 127

  (2014) (citation omitted); Bristol-Myers Squibb Co. v. Superior Ct. of Cal., San

  Francisco Cty., ___ U.S. ___, 137 S. Ct. 1773, 1779-80 (2017) (alteration in

  original).

        There are two types of personal jurisdiction: general jurisdiction and specific

  jurisdiction. See Id. Plaintiff does not assert general jurisdiction. The specific

  jurisdiction inquiry focuses on the relationship between the nonresident defendant,

  the forum, and the litigation. Walden v. Fiore, 571 U.S. 277, 284 (2014). “For a

  State to exercise jurisdiction consistent with due process, the defendant's suit-

  related conduct must create a substantial connection with the forum State.” Id. This

  requires the relationship to “arise out of contacts that the ‘defendant himself creates

  with the forum state” and “looks to the defendant's contacts with the forum State

  itself, not the defendant’s contacts with persons who reside there.” Id. at 284-85.

           To analyze specific jurisdiction, the Ninth Circuit has articulated a three-

  part test to evaluate the sufficiency of a defendant's minimum contacts within the

  forum:


       (1) the defendant must either purposefully direct his activities toward the

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       forum or purposefully avail himself of the privileges of conducting
       activities in the forum; (2) the claim must be one which arises out of or
       relates to the defendant's forum-related activities; and (3) the exercise of
       jurisdiction must comport with fair play and substantial justice, i.e., it
       must be reasonable.

  Axiom Foods, Inc. v. Acerchem Int’l, Inc., 874 F.3d 1064, 1068 (9th Cir. 2017)

  (internal citations and quotations omitted).

        In Holland America Line v. Wärtsilä North Amer., the Ninth Circuit

  concluded that “[t]he the due process analysis under Rule 4(k)(2) is nearly identical

  to traditional personal jurisdiction analysis with one significant difference: rather

  than considering contacts between the [Defendant] … and the forum state, we

  consider contacts with the nation as a whole.” Holland America Line v. Wärtsilä

  North Amer, 485 F.3d 450, 462 (9th Cir., 2007). Accordingly, Plaintiff will address

  the three-part test of Axiom Foods, Inc. with respect to the US as the forum.

        a. The Defendant Purposefully Directs His Activities Toward the US

         “A claim for copyright infringement sounds in tort, and therefore a purposeful

  direction analysis is appropriate.” Goldberg v. Cameron, 482 F. Supp. 2d 1136, 1144

  (N.D. Cal. 2007).

        The purposeful direction analysis has been equated with the “effects test”

  described in Calder v. Jones, 465 U.S. 783 (1984). Freestream Aircraft (Bermuda)

  Ltd. v. Aero Law Grp., 905 F.3d 597, 605 (9th Cir. 2018). “Under the Calder effects

  test, purposeful direction exists when a defendant allegedly: (1) committed an

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  intentional act, (2) expressly aimed at the forum state, (3) causing harm that the

  defendant knows is likely to be suffered in the forum state.” Id. at 604 n.3 (citation

  and internal quotation marks omitted).

               i. Intentional Act

         “An intentional act is one ‘denot[ing] an external manifestation of the actor’s

  will . . . not includ[ing] any of its results, even the most direct, immediate, and

  intended.’” Morrill v. Scott Financial Corporation, 873 F.3d 1136, 1142 (9th Cir.

  2017) (some alterations in Morrill) (quoting Washington Shoe Co. v. A-Z Sporting

  Goods, Inc., 704 F.3d 668, 673-74 (9th Cir. 2012)).

        The Defendant intentionally registered his domain with the US company

  (Arizona) Namecheap. FAC at ¶24. The Defendant intentionally uses Namecheap

  and US company (California) CloudFlare for the hosting and nameserver of his

  websites. Id. Because Defendant intentionally placed the torrent files for copying

  the Work and the file copies of the Work on his website that was hosted on a US

  company, Defendant intentionally placed the torrent files in the US (on the servers

  of Cloudflare and Namecheap).

        Defendant intentionally used the US social media platforms of Facebook,

  Reddit and Twitter (all in California) to promote his website and availability of new

  content. Id. at ¶¶24, 103-104. Defendant intentionally uses the US company

  (California) PayPal to make payments to Namecheap. Id. at ¶24. Defendant


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  intentionally uses email service of the US company Google for email

  communications. Id. The United States is the second highest country from which

  traffic to his website originates. See FAC at ¶123.

               ii. Expressly Aimed at the Forum

        The two factors that Courts have considered when determining whether an

  action is expressly aimed at the forum are: (1) whether the relationship arises out of

  contacts that the defendant himself creates with the forum State; (2) Defendants

  contacts with the forum State rather than defendant’s contacts with persons who

  reside there. See Morrill, 873 F.3d at 1143 (quoting Walden v. Fiore, 134 S. Ct.

  1115, 1122 (2014)).

        The Defendant takes advantage of provisions of US law on his website –

  namely the safe harbor protections from liability of the DMCA. See FAC at ¶25.

        When registering his domain with the Registrar Namecheap and agreeing to

  the hosting service, Defendant agreed to jurisdiction and laws of Arizona. Decl. of

  Counsel. at ¶¶23-24. When registering for service with Cloudflare, Defendant

  agreed to jurisdiction and laws of California. Id. at ¶25. Under general contract

  principles, a forum selection clause may give rise to waiver of objections to personal

  jurisdiction, provided that the defendant agrees to be so bound. See Holland Am.

  Line Inc. v. Wartsila N.A., Inc., 485 F.3d 450, 458 (9th Cir. 2007) (internal citations

  omitted). Although these agreements provided for Courts in Arizona and California,


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  the focus on the test of the Federal Long Arm statute is the United States as a whole

  as the forum. Moreover, these contacts are not the type of continuous contacts such

  as a place of incorporation and principal place of business that would constitute

  general jurisdiction with one of these states, thereby ruling out the applicability of

  the Federal Long Arm statute.

        As alleged in the FAC, Defendant purposely directs his electronic activity into

  the United States and targets and attract a substantial number of users in the United

  States and, more particularly, Hawaii. See FAC at ¶17. Defendant’s website

  generates cookies and trackers to users so that advertisements can be tailored to the

  user location. See Id. at ¶¶11-12, Decl. of Kessner at ¶11.

        As alleged in the FAC, by seeding the torrent files for the Work on, for

  example, 1337x, Defendant sent at least pieces if not all of the Work to over 16,000

  IP addresses in the United States, including 35 in Hawaii. Decl. of Counsel at ¶27.

               iii. Defendant Knew He was Causing Harm that was Likely to be

  Suffered in the US

        Defendant knew he was causing harm in the US when operating his

  MKVCAGE websites.         As stated above, Defendant registered and hosted his

  websites in the US with US companies. Defendant’s website included a list of the

  Internet Movie Database (“IMDB”) top 250 (primarily US) movies with a download

  link for downloading each movie. See FAC at ¶30. Thus, Defendant knew he was


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  causing harm to the US companies that produced these movies. Defendant received

  notifications from CloudFlare and Namecheap concerning Plaintiff’s DMCA

  notices. See Decl. of Counsel at ¶¶3-5. In response, Defendant moved his website

  from mkvcage.fun domain to the mkvcage.com domain and continued to host the

  torrent files for downloading Plaintiff’s Work. FAC at ¶43. Plaintiff’s counsel

  communicated directly with Defendant and informed him of the harm he was

  causing in the United States.

               Ripping streams and Blu-ray discs to make copies of our clients’ motion
        pictures and torrent files and promoting and/or distributing torrent files for the
        purposes of infringing copyright protected material constitutes contributory
        copyright infringement, which is a violation of the Federal copyright statute,
        found at 17 U.S.C. § § 501-506.
               …
               Please appreciate that our clients invested significant time, effort and
        money in making and marketing their motion pictures. Accordingly, they
        request financial compensation for the damages caused by piracy websites
        such as the yours.

  See Exhibit “4”.

        Even after Defendant took down his website in response to the above notice,

  he once again renewed his piracy activities under the website mkvcage.nl. See FAC

  at ¶44.

        b. Plaintiff’s Claims Arise out of or Relates to the Defendant’s Forum-Related

  Activities

        Plaintiff’s claims arise from Defendant’s website that he registered with a US

  company (Namecheap), promoted via US social media platforms (Twitter, Facebook
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  and Reddit), hosted via the US companies (Cloudflare and Namecheap), and paid

  for from an account of the US company (PayPal). See FAC at ¶24, Decl. of Counsel

  at ¶¶2, 9.

         c. The Exercise of Jurisdiction Comports with Fair Play and Substantial

  Justice

         It is not Plaintiff’s burden to address this prong. See Mavrix Photo, Inc. v.

  Brand Technologies, Inc., 647 F.3d 1218, 1228 (9th Cir. 2011). However, Plaintiff

  respectfully submits that since Defendant has already consented to be haled into

  US courts in California and Arizona, there is no further burden for Defendant to be

  haled into a Court in Hawaii.

  B. Alternatively, Personal Jurisdiction over Defendant is Appropriate per HRS §§

  634-35

         Because Hawaii’s long-arm jurisdictional statute HRS §§ 634-35 is

  coextensive with federal due process requirements, the jurisdictional analyses

  under state law and federal due process are the same. See Hawaii Forest & Trial

  Ltd. v. Davey, 556 F.Supp.2d 1162, 1168 (D. Haw. 2008); Barranco v. 3D Sys.

  Corp., 6 F. Supp. 3d 1068, 1077 (D. Haw. 2014) (citing Cowan v. First Ins. Co. of

  Haw., 61 Haw. 644, 649, 608 P.2d 394, 399 (1980)). Plaintiff respectfully submits

  that applying the three part Axiom Foods test again with respect to Defendant’s

  contacts with Hawaii only alternatively supports personal jurisdiction because


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  Defendant committed the tortious act of copyright infringement within Hawaii as

  defined by HRS §§ 634-35(a)(2) by sending at least a piece if not all of the Work

  to the 35 IP addresses in Hawaii. See FAC at ¶6-7. Because IP addresses include

  geographic information, Defendant knew that he was sending the pieces to Hawaii

  and therefore expressly aimed for Hawaii when sending the file pieces. See Id. at

  ¶8., Decl. of Counsel at ¶26. Moreover, Plaintiff’s claims arise out of or relates to

  the Defendant’s distribution of pieces of the file to the 35 IP addresses in Hawaii in

  violation of Plaintiff’s exclusive right to reproduce and distribute the Work.

  IV.   DEFENDANT’S DEFAULT ENTERED

        Defendant was personally served the Complaint on Oct. 4, 2019 per the Hague

  Convention. See Supplemental Decl. of Wagar at ¶3 [Doc. #17], Affidavit of

  Muhammad Abeed Atiff [Doc. #14-1]. Defendant Muhammad Faizan was served a

  copy of the FAC on Feb. 14, 2020 per Fed R. Civ. P. 5(b)(2)(C). See Certificate of

  Service [Doc. #41]. When Defendant failed to appear, plead, or otherwise defend,

  Plaintiff filed a Rule 55(a) request for the entry of default on March 2, 2020 [Doc. #

  26] which was granted by the Court [Doc. #43].

  V.    ARGUMENT

  A. Copyright Infringements have been Established

        A Plaintiff asserting a copyright infringement claim must demonstrate: “(1)

  ownership of a valid copyright, and (2) copying of constituent elements of the work


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  that are original.” Feist Pubs., Inc. v. Rural Telephone Service Co., Inc., 499 U.S.

  340, 361, 111 S.Ct. 1282, 113 L.Ed.2d 358 (1991).

        1. Plaintiff has Established Ownership of the Copyright in the Work

        In the FAC, Plaintiff alleged that it owns the copyright for the Work and

  included the Copyright Registrations numbers issued by the Register of Copyrights.

  FAC at ¶16, Exhibit “1” [Doc. #40-1] of the FAC. “Registration is prima facie

  evidence of the validity of a copyright.” Three Boys Music Corp. v. Bolton, 212 F.3d

  477, 488–89 (9th Cir. 2000)(citing 17 U.S.C. § 410(c) (1994)).

        2. Defendant Copied Constituent Portions of the Work in Violation of

  Plaintiff’s Exclusive Rights of Reproduction and Distribution

        As alleged in the FAC, Defendant created copies Work from Blu-ray and legal

  streaming services and placed them on his MKVCAGE websites. FAC at ¶40.

  Defendant Faizan seeded copies of the work from computing devices under his

  control under his username to other notorious movie piracy sites such as ETTV and

  1337x.   Id. at ¶86. The website 1337x.tw receives nameserver service from

  Cloudflare and is hosted on servers in Texas since April 28, 2018. See Decl. of

  Counsel at ¶27. Thus, Defendant reproduced the Work in the US when he placed a

  copy on his website and seeded it on 1337x.tw. Plaintiff’s investigator Daniel

  Arheidt confirmed that two torrent files had been used to copy the motion picture by

  over 16,000 IP addresses in the United States and that these two files constituted


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  copies of the motion picture. See Decl. of Arheidt at ¶7, FAC at ¶¶19-21, 81-82.

  That suffices to establish underlying direct infringement. See, e.g., Arista Records

  LLC v. Usenet.com, Inc., 633 F. Supp. 2d 124, 150 n.16 (S.D.N.Y. 2009) (“Courts

  routinely base findings of infringements on the actions of plaintiffs’ investigators.”).

          3. Defendant Intentionally Induced Infringement of the Work from his

  MKVCAGE Websites.

          A plaintiff establishes inducement liability by showing: “(1) distribution of a

  device or product [by defendant], (2) acts of infringement [by third parties], (3) an

  object [of the defendant] of promoting [the device’s or product’s] use to infringe

  copyright, and (4) causation.” Columbia Pictures Industries, Inc. v. Fung, 710 F.3d

  1020, 1032 (9th Cir. 2013) (citing Metro-Goldwyn-Mayer Studios Inc. v. Grokster,

  Ltd., 545 U.S. 913, 936-37, 125 S. Ct. 2764, 2776 (2005)). All four elements are

  easily met here. (1) Defendant distributed torrent files for copying the Work from

  his websites. FAC at ¶¶38-39. (2) Third parties at over 16,000 IP addresses

  (including 35 in Hawaii) infringed the Work using Defendants’ torrent files. Id. at

  ¶18. (3) Defendant promoted his torrent files for copying the Work at this

  MKVCAGE websites. Id at ¶31. (4) Defendant’s placing of the torrent files on his

  websites and seeding the files were the proximate cause of the infringements. Id at

  ¶125.




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        4. Defendant Contributed to Infringements of the Work

        Contributory liability requires that a party (1) has knowledge of another’s

  infringement and (2) either (a) material contributes to or (b) induces that

  infringement. VHT, Inc. v. Zillow Grp., Inc., 918 F.3d 723, 745 (9th Cir. 2019)

  Defendant knowingly and materially contributed to the acts of infringement by

  supplying the MKVCAGE website that distributed the torrent files, and by actively

  encouraging, promoting, and contributing to the use of the websites for blatant

  copyright infringement. FAC at ¶129. Moreover, by participating in the BitTorrent

  swarms with others such as the 16,000 IP addresses by his initial seeding of the file,

  Defendant materially contributed to the infringing conduct of others. FAC at ¶136.

  B. Default Judgment is Appropriate

        Because Defendant has chosen to default instead of defending, he has

  admitted the truth of the allegations asserted in the Complaint. TeleVideo Sys., Inc.

  v. Heidenthal, 826 F.2d915, 917–18 (9th Cir. 1987) (“The general rule of law is that

  upon default the factual allegations of the complaint, except those relating to the

  amount of damages, will be taken as true.”). While the court may conduct a hearing

  to determine damages, See Fed. R. Civ. P. 55(b)(2)(B), the court can rely on evidence

  submitted by Plaintiff. See Fustok v. ContiCommondity Servs., Inc., 873. F.2d 38,

  40 (2d Cir. 1989).




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        Plaintiff respectfully requests that this Court enter a default judgment against

  Defendant. When evaluating whether to grant a judgment by default, courts consider

  a number of factors, including:

        (1) the possibility of prejudice to the plaintiff, (2) the merits of plaintiff's
        substantive claim, (3) the sufficiency of the complaint, (4) the sum of money
        at stake in the action, (5) the possibility of a dispute concerning material facts,
        (6) whether the default was due to excusable neglect, and (7) the strong policy
        underlying the Federal Rules of Civil Procedure favoring decisions on the
        merits.

  Eitel v. McCool, 782 F.2d 1470, 1471–72 (9th Cir.1986); see also Parr v. Club

  Peggy, Inc., 2012 U.S. Dist. LEXIS 24758 (D. Haw. Jan. 19, 2012). All of these

  factors support the conclusion that Plaintiffs are entitled to a default judgment.

        1. The Possibility of Prejudice to Plaintiff

        Plaintiff would certainly be prejudiced if the Court declines to enter default

  judgment, for it would leave Plaintiff without any remedy against Defendant, who

  has failed to even show up and contest this dispute. “If Plaintiff[’s] motion for default

  judgment is not granted, Plaintiff[] will likely be without other recourse for

  recovery.” PepsiCo, Inc. v. California Sec. Cans, 238 F. Supp. 2d 1172, 1177 (C.D.

  Cal. 2002). Despite the fact that Defendant doesn’t deny that Plaintiff is entitled to

  an award of statutory damages, attorneys’ fees, costs, and a permanent injunction, if

  this Court refuses to enter a default judgment against him, Plaintiff would be left

  unable to seek damages or even to prevent Defendant from brazenly continuing to

  induce and contribute to infringement of Plaintiff’s copyright by promoting and
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  distributing the torrent files for the Work. Indeed, a refusal would entirely frustrate

  both the Copyright Act and the civil justice system.

        2. & 3. The Merits of Plaintiff’s Substantive Claims and the Sufficiency of the

  FAC

        As discussed above, Plaintiff has adequately pled its claims for direct

  infringement, contributory copyright infringement and intentional inducement

  against Defendant. Further, Defendant has no safe harbor from liability because: (1)

  he placed the torrent files on his MKVCAGE websites and the ibit.uno website

  himself; and (2) he did not have a DMCA agent. See FAC at ¶¶90-93.

        4. The Sum of Money at Stake in the Action

        Plaintiff is seeking an award of statutory damages of $150,000 for

  Defendant’s willful contributory infringements for the Work. The amount of money

  at stake relative to the cost of continued litigation makes the matter appropriate for

  default judgment.

        5. The Possibility of a Dispute Concerning the Material Facts

        There is no possibility of a dispute arising as to any material fact in this case.

  Because of Defendant’s default, this Court must take the factual allegations asserted

  in the FAC as true. See TeleVideo Sys., Inc. v. Heidenthal, supra, 826 F.2d at 917–

  18. Moreover, Defendant has not made any attempt to contest those allegations (or




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  for that matter, even bothered to appear). Finally, Defendant has admitted to being

  the operator of the website. See Decl. of Counsel at ¶¶10-16.

        6. Whether the Default was Due to Excusable Neglect

        Defendant’s default is not the result of excusable neglect. As discussed above,

  Defendant was served a copy of the FAC on Feb. 14, 2020. Defendant conceded

  that he was the operator of the website but refused to pay any damages in email

  communications with Plaintiff’s counsel.       See Decl. of Counsel at ¶¶10-16.

  Plaintiff’s counsel sent Defendant a copy of the Entry of Default. Id at ¶22. Despite

  not being required to by Rule 55(b)(2) of the Federal Rules of Civil Procedure,

  Plaintiff has sent a copy of this Motion to Defendant’s email address (airmail to

  Pakistan is not available not due to COVID-19 restrictions). Id .

        Thus, on several occasions, Defendant has been provided with notice of this

  proceeding and the risks for failing to appear. Accordingly, Defendant’s decision to

  neither appear nor defend “cannot be attributed to excusable neglect.” Shanghai

  Automation Instrument Co., Ltd. v. Kuei, 194 F.Supp.2d 995, 1005 (N.D. Cal.2001)

  (reasoning that excusable neglect is not present when Defendant “were properly

  served with the Complaint, the notice of entry of default, as well as the papers in

  support of the instant motion”).




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        7. The Policy Considerations

        While it is true that “cases should be decided upon their merits whenever

  reasonably possible,” Defendant’s failure to respond to this lawsuit makes achieving

  a ruling on the merits entirely unfeasible. See Pena v. Seguros La Comercial, S.A.,

  770 F.2d 811, 814 (9th Cir. 1985). Accordingly, the only way for this case to reach

  a resolution of any kind is to award Plaintiff default judgment. Absent a judgment

  by default, Plaintiff will not be made whole and have no mechanism to prevent

  further inducements and contributory infringements of its Work by this same

  Defendant. In summary, as demonstrated above, all of the factors weigh in favor of

  granting Plaintiff a default judgment against Defendant.

  VI.    STATUTORY           DAMAGES            FOR     WILLFUL         COPYRIGHT

  INFRINGEMENT

        Plaintiff elects to receive statutory damages of $150,000 for Defendant’s

  willful direct infringement, inducements and contributions to infringements of the

  Work. Pursuant to 17 U.S.C. § 504(c), “A plaintiff may elect statutory damages

  regardless of the adequacy of the evidence offered as to [its] actual damages and the

  amount of the defendant’s profits.” Columbia Pictures Indus., Inc. v. Krypton Broad.

  of Birmingham, Inc., 259 F.3d 1186, 1194 (9th Cir. 2001) (citation omitted). Plaintiff

  is entitled to an award of damages of no less than $750.00 per work and up to

  $30,000.00 per work for a non-willful violation, and for a willful infringement, no


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  more than $150,000.00 per work for Defendant’s violations of the Copyright Act.

  17 U.S.C. § 504(c)(1) and (2).

        Defendant’s conduct is willful. FAC at ¶¶124, 131. Not only did Defendant

  himself place the torrent files on his MKVCAGE websites and the ibit.uno website

  after ripping copies from legitimate sources, he also seeded copies of the Work. Id.

  at ¶¶86, 90-91. When he received notice of infringement from Cloudflare and

  Namecheap, he moved his website to mkvcage.com and continued to distribute

  torrent files for copying the Work. Id. at ¶43. When he received notification from

  Plaintiff’s counsel, he created a new website using the privacy services of 1337

  Services, LLC to conceal his identity. Id. at ¶44.

        17 U.S.C. §504(c)(3)(A) provides that “it shall be a rebuttable presumption

  that the infringement was committed willfully…if the violator…knowingly

  provided…materially false contact information to a … domain name registration

  authority in registering, maintaining, or renewing a domain name used in connection

  with the infringement.” Such is the case here. Defendant provided false information

  to Cloudflare when registering for his account for providing nameserver service for

  his account. Defendant purposely left out the property number when registering for

  his account with Namecheap for registering his domain name. See Decl. of Counsel

  at ¶¶8.




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        Defendant’s willful conduct has resulted in over 105,043 infringements

  worldwide, thereby causing substantial damage to Plaintiff. FAC at ¶¶83-84. The

  damage is still significant when considering only the 16,942 instances of

  infringements in the US.

        In Lions Gate Films Inc. v. Does, the Central District of California awarded

  $150,000 in statutory damages jointly against Defendants for willful infringement

  of the motion picture Expendables 3 by distributing torrent files from the website

  limetorrents.com among other websites. See Lions Gate Films Inc. v. Does, No.

  2:14-cv-6033-MMM-AGRx, 2014 WL 3895240, at 3, 6 (C.D. Cal. Aug. 8, 2014),

  Id. at Doc. 68 (attached as Exhibit “5”). Plaintiff requests a similar award in the

  present case.

  VII. PLAINTIFF IS ENTITLED TO INJUNCTIVE RELIEF

        Plaintiff requests that the Court grant its request for injunctive relief,

  permanently barring Defendant from directly infringing, inducing and contributing

  to infringement of Plaintiff’s copyright in the Work. The Court is authorized to grant

  permanent injunctive relief to prevent or restrain copyright infringement. See 17

  U.S.C. § 502(a) (“Any court having jurisdiction of a civil action arising under this

  title may, subject to the provisions of section 1498 of title 28, grant temporary and

  final injunctions on such terms as it may deem reasonable to prevent or refrain

  infringement of a copyright.”)


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        A Plaintiff is required to satisfy the following four-factor test to obtain a

  permanent injunction: (1) that it has suffered an irreparable injury; (2) that remedies

  available at law, such as monetary damages, are inadequate to compensate for that

  injury; (3) that, considering the balance of hardships between the plaintiff and

  defendant, a remedy in equity is warranted; and (4) that the public interest would not

  be disserved by a permanent injunction. See eBay Inc. v. MercExchange, L.L.C.,

  547 U.S. 388, 391 (2006), Cottonwood Envtl. Law Ctr. v. U.S. Forest Serv., 789 F.3d

  1075, 1088 (9th Cir. 2015).

        Despite being served the FAC for this litigation and communications with

  Plaintiff’s counsel, Defendant continued to promote and distribute torrent files on

  the website mkvcage.nl. FAC at ¶44.

        In copyright infringement cases, the Ninth Circuit requires a plaintiff to

  “demonstrate a likelihood of irreparable harm as a prerequisite for injunctive relief,

  whether preliminary or permanent.” Flexible Lifeline Sys., Inc. v. Precision Lift, Inc.,

  654 F.3d 989, 998 (9th Cir. 2011). Unless this Court grants an injunction, Defendant

  will likely continue to be the source for other torrent files that will be used by

  individuals in Hawaii, throughout the United States, and the world to reproduce

  Plaintiff’s Work in violation of Plaintiff’s exclusive rights to publicly perform,

  distribute and make copies of its Work. Granting an injunction is the only way to

  prevent further infringement.


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  VIII. PLAINTIFF IS ENTITLED TO ATTORNEY’S FEES AND COSTS

        The Copyright Act states that a district court “may . . . award a reasonable

  attorney’s fee to the prevailing party as part of the costs.” 17 U.S.C. § 505. The

  Supreme Court has provided the following nonexclusive list of factors for district

  courts to consider in a making a fee determination under the Copyright Act: (1)

  frivolousness; (2) motivation; (3) “objective unreasonableness (both in the factual

  and in the legal components of the case)”; and (4) “the need in particular

  circumstances to advance considerations of compensation and deterrence.” Fogerty

  v. Fantasy, Inc., 510 U.S. 517, 534 n.19 (1994). The Ninth Circuit has held that

  courts may also consider these factors: “[T]he degree of success obtained in the

  litigation, the purposes of the Copyright Act, and ‘whether the chilling effect of

  attorney’s fees may be too great or impose an inequitable burden on an impecunious

  [litigant].’” Glacier Films (USA), Inc. v. Turchin, 896 F.3d 1033, 1037 (9th Cir.

  2018) (quoting Perfect 10, Inc. v. Giganews, Inc., 847 F.3d 657, 675 (9th Cir. 2017)).

  Furthermore, the Ninth Circuit has “emphasized that district courts should ‘accord

  substantial weight to’ the ‘reasonableness of [the] losing party’s legal and factual

  arguments.’” Id.

        Plaintiff assert that the following factors support granting its motion for

  attorney’s fees: (1) Plaintiff’s degree of success in the litigation; (2) deterrence; (3)




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  furtherance of the purposes of the Copyright Act; and (4) the objective

  unreasonableness of the losing party’s (Defendant’s) litigation conduct.

  A. The Degree of Success in the Litigation

        In this case, Plaintiff’s suit against Defendant was a total success because

  Defendant has defaulted.

  B. Deterrence

        The interest of deterrence weighs in favor of granting Plaintiff’s motion for

  attorney’s fees. Defendant continued to distribute the torrent files after receiving

  notifications from Namecheap and CloudFlare. See Decl. of Counsel at ¶¶3, 6-7,

  and 16-18. Accordingly, the interest of deterrence weighs in favor of fee-shifting.

  C. The Goals of the Copyright Act

        The Copyright Act is intended to “‘promote the Progress of Science and useful

  Arts’ by ‘assuring authors the right to their original expression’ and ‘encouraging

  others to build freely upon the ideas and information conveyed by a work.’” Feist

  Publ’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 349-50 (1991). Defendant’s

  distribution of torrent files results directly in infringements of Plaintiff’s Work.

  Thus, Defendant’s conduct frustrates the goals of the Copyright Act.

  D. Objective Unreasonableness

        The objective unreasonableness of Defendant’s conduct also supports fee-

  shifting. Defendant’s conduct forced Plaintiff to file the present motion for default.


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  Defendant continued to promote and distribute torrent files despite multiple notices.

  The unreasonableness of Defendant’s conduct during this litigation supports

  awarding attorney’s fees to Plaintiff.

  E. Calculation of Attorney’s Fees

        Reasonable attorney’s fees are generally based on the traditional “lodestar”

  calculation set forth in Hensley v. Eckerhart, 461 U.S. 424, 433 (1983). See Fisher

  v. SJB-P.D., Inc., 214 F.3d 1115, 1119 (9th Cir. 2000). The court must determine a

  reasonable fee by multiplying “the number of hours reasonably expended on the

  litigation” by “a reasonable hourly rate.” Hensley, 461 U.S. at 433. Second, the court

  must decide whether to adjust the lodestar amount based on an evaluation of the

  factors articulated in Kerr v. Screen Extras Guild, Inc., 526 F.2d 67, 70 (9th Cir.

  1975), which have not been subsumed in the lodestar calculation. See Fisher, 214

  F.3d at 1119 (citation omitted). The factors the Ninth Circuit articulated in Kerr are:

        (1) the time and labor required, (2) the novelty and difficulty of the questions
        involved, (3) the skill requisite to perform the legal service properly, (4) the
        preclusion of other employment by the attorney due to acceptance of the case,
        (5) the customary fee, (6) whether the fee is fixed or contingent, (7) time
        limitations imposed by the client or the circumstances, (8) the amount
        involved and the results obtained, (9) the experience, reputation, and ability
        of the attorneys, (10) the “undesirability” of the case, (11) the nature and
        length of the professional relationship with the client, and (12) awards in
        similar cases.

  Kerr, 526 F.2d at 70. The subsumed factors taken into account in the “lodestar”

  calculation are: “‘(1) the novelty and complexity of the issues, (2) the special skill


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  and experience of counsel, (3) the quality of representation, . . . (4) the results

  obtained,’ Morales v. City of San Rafael, 96 F.3d 359, 364 n.9 (9th Cir. 1996), and

  (5) the contingent nature of the fee agreement,” City of Burlington v. Dague, 505

  U.S. 557, 112 S. Ct. 2638, 2643, 120 L. Ed. 2d 449 (1992). Once calculated, the

  “lodestar” is presumptively reasonable. See Pennsylvania v. Delaware Valley

  Citizens’ Council for Clean Air, 483 U.S. 711, 728 (1987); see also Fisher, 214 F.3d

  at 1119 n.4 (stating that the lodestar figure should only be adjusted in rare and

  exceptional cases).

        Plaintiff requests the following lodestar amount for attorneys’ fees it incurred

  in this case as detailed in the attached Declaration of Counsel with regards to

  Defendant:

  KERRY CULPEPPER          51.33 hours @ $250/hour =         $12,832.50

  Additionally, Plaintiff seeks to recover the Hawaii General Excise Tax related to

  those fees in the amount of $568.86 and taxable costs of $4714.

         In ME2 Productions, Inc. v. Pumaras, this Court determined that a billing

  rate of $250 for Plaintiff’s Counsel was consistent with the prevailing rates in the

  community. See ME2 Productions, Inc. v. Pumares, Civ. No. 1:17-00078 SOM-

  RLP, Doc. #42, at 18 (D. Haw. Oct. 19, 2017).




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  IX.   CONCLUSION

        Plaintiff respectfully requests that the Court enter default judgment against

  Defendant and issue an award of statutory damages in the amount of $150,000,

  reasonable attorneys’ fees in the amount of $12,832.50, Hawaii General Excise Tax

  related to those fees in the amount of $568.86 and taxable costs of $4714.

        Additionally, Plaintiff requests that the Court permanently enjoin Defendant

  from directly and contributorily infringing Plaintiff’s copyrighted Work.



              DATED: Kailua-Kona, Hawaii, July 22, 2020.


                                  CULPEPPER IP, LLLC

                                  /s/ Kerry S. Culpepper
                                  Kerry S. Culpepper

                                  Attorney for Plaintiff




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